       Case 2:19-cv-01748-MMD-CLB Document 18 Filed 11/06/20 Page 1 of 1




1                                 UNITED STATES DISTRICT COURT

2                                        DISTRICT OF NEVADA

3      MARK STRADLEY,
4                                                         2:19-cv-01748-MMD-CLB
                                     Plaintiffs,
5         v.
                                                          ORDER
6      J. DZURENDA, et al.,
7
                                  Defendants.
8

9
            On October 13, 2020, the court’s order setting inmate mediation conference (ECF
10
     No. 14) was returned from High Desert State Prison and marked “paroled” (ECF No. 15).
11
     Thereafter, the court issued an order requiring the plaintiff to file an updated address and in
12
     forma pauperis application or pay the filing full filing fee on or before November 2, 2020
13
     (ECF No. 16). This order was also returned on October 19, 2020 and marked “paroled” (ECF
14
     No. 17).
15
            The court will allow plaintiff one final opportunity to proceed in this action. Plaintiff is
16
     advised that pursuant to LR IA 3-1, he must immediately file with the court written notification
17
     of any change of address. Failure to comply with this rule will result in dismissal of this
18
     action. Plaintiff shall have until Monday, December 7, 2020 to file a notice of change of
19                   case will be dismissed.
     address or this court
20
            The inmate mediation conference set for Tuesday, November 10, 2020 at 2:30 pm is
21
     hereby VACATED.
22                     November 6, 2020
               DATED: __________________.
23

24                                                 ______________________________________
25                                                 UNITED STATES MAGISTRATE JUDGE

26
27

28

                                                      1
